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 1   NOTE CHANGES MADE BY COURT.

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                                                                     10/25/2017
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 8                          UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               No. CR 17-547-MWF

11             Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
                                             FINDINGS REGARDING EXCLUDABLE TIME
12                    v.                     PERIODS PURSUANT TO SPEEDY TRIAL
                                             ACT
13   JASON NEWLING,
                                             TRIAL DATE: 03/06/2018
14             Defendant.                    STATUS CONF: 02/26/2018
15

16        The Court has read and considered the Stipulation Regarding
17   Request for (1) Continuance of Trial Date and (2) Findings of
18   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
19   parties in this matter on October 24, 2017.         The Court hereby finds
20   that the Stipulation, which this Court incorporates by reference into
21   this Order, demonstrates facts that support a continuance of the
22   trial date in this matter, and provides good cause for a finding of
23   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
24        The Court further finds that:       (i) the ends of justice served by
25   the continuance outweigh the best interest of the public and
26   defendant in a speedy trial; (ii) failure to grant the continuance
27   would be likely to make a continuation of the proceeding impossible,
28   or result in a miscarriage of justice; and (iii) failure to grant the
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 1   continuance would unreasonably deny defendant continuity of counsel

 2   and would deny defense counsel the reasonable time necessary for

 3   effective preparation, taking into account the exercise of due

 4   diligence.

 5        THEREFORE, FOR GOOD CAUSE SHOWN:

 6        1.      The trial in this matter is continued from November 7, 2017

 7   to March 6, 2018 at 8:30 a.m., and a status conference is scheduled

 8   for February 26, 2018 at 3:00 p.m.

 9        2.      The time period of September 25, 2017 to March 6, 2018,

10   inclusive, is excluded in computing the time within which the trial

11   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

12   and (B)(iv).

13        3.      Defendant shall appear in Courtroom 5A of the First Street

14   Courthouse, 350 West First Street, Los Angeles, California 90012 on

15   March 6, 2018 at 8:30 am.

16        4.      Nothing in this Order shall preclude a finding that other

17   provisions of the Speedy Trial Act dictate that additional time

18   periods are excluded from the period within which trial must

19   commence.    Moreover, the same provisions and/or other provisions of

20   the Speedy Trial Act may in the future authorize the exclusion of

21   additional time periods from the period within which trial must

22   commence.

23        IT IS SO ORDERED.

24

25   October 25, 2017
     DATE                                     HONORABLE MICHAEL W. FITZGERALD
26                                            UNITED STATES DISTRICT JUDGE
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